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mend
8 UNITED STATES DISTRICT COURT
9 FOR THE CENTRAL DISTRICT OF CALIFORNIA
190 February 2007 Grand Jury
11 || UNITED STATES OF AMERICA, ) CR O7- 07 -O1 1 63
}
12 Plaintiff, ) INDICTMENT
)
13 Vv. ) [18 U.S.C. § 922{(g) (1): Felon
) in Possession of a Firearm]
14 | CHARLES LEROY TWYMAN, )
aka “Lee, * )
15 )
Defendant. )
16 )
17
18 The Grand Jury charges:
19 [18 U.S.C. § 922 (g) (1)]
20 On or about July 27, 2006, in San Bernardino County, within
21] the Central District of California, defendant CHARLES LEROY
22 || TWYMAN, aka “Lee,” knowingly possessed a loaded firearm, namely,
23 || a Uberti Maverick .357 magnum pistol bearing serial number 262,
24 || and ammunition, namely, ten rounds of Remington-Peters .357
25 | magnum ammunition, in and affecting interstate and foreign
26 | commerce. Such possession occurred after defendant CHARLES LEROY
27 || TWYMAN had been convicted of a felony punishable by a term of
28 || imprisonment exceeding one year, namely, Possession of Cocaine

 

 

 

 
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for Sale, in violation: of California Health and Safety Code
Section 11351, in the Superior Court of California, County of Los
Angeles, Case Number YA001555, on or about January 11, 1991.

A TRUE BILL

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FOREPERSON

 

THOMAS P. O'BRIEN
United States Attorney

 

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CHRISTINE C. EWELL

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BONNIE L. HOBBS
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